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LAW OFFICES OF
O’KEKE & ASSOCIATES, P.C.
801 Franklin Avenue.
Brooklyn, New York 11238
Tel.: (718) 855-9595
Attorneys for plaintiff(s)
-----------------------------------X----------------------------
JAY SMITH,                         :UNITED STATES DISTRICT COURT
                                   :EASTERN DISTRICT OF NEW YORK
               Plaintiff(s),       :
                                   :    CASE No.: 15 CV 1907
     against                       :
                                   :    (SJ) (VVP)
                                   :
THE CITY OF NEW YORK,              :    CIVIL ACTION
P.O. RODNEY GREENIDGE,SHIELD #28511:
P.O. CRAIG WRIGHT, SHIELD #30425   : FIRST AMENDED COMPLAINT
SERGEANT JESSICA GAVARS SHIELD #2298:
                                   :    PLAINTIFF DEMANDS
                                   :    TRIAL BY JURY
               Defendant(s).       :
-----------------------------------X----------------------------


       TAKE NOTICE, the Plaintiff, Jay Smith, hereby appears in
this    action   by   his   attorneys,      The    Law       Offices    of   O’keke   &
Associates, P.C., and demands that all papers be served upon
him, at the address below, in this matter.


       Plaintiff, Jay Smith, by his attorneys, The Law Offices of
O’keke & Associates, P.C., complaining of the defendants, The
City of New York, P.O. Rodney Greenidge, Shield #28511, P.O.
Craig Wright, Shield #30425 and Sergeant Jessica Gavars Shield
#2298    collectively       referred     to       as     the      Defendants,     upon
information and belief alleges as follows:


                            NATURE OF THE ACTION
1.     This is an action at law to redress the deprivation of
       rights secured to the plaintiff under color of statute,
       ordinance,     regulation,      custom,         and   or    to   redress    the

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     deprivation of rights, privileges, and immunities secured
     to    the   plaintiff     by    the       Fourth,     Fifth   and   Fourteenth
     Amendments to the Constitution of the United States, and by
     Title 42 U.S.C. § 1983 [and § 1985], [and arising under the
     law and statutes of the State of New York].


                                 JURISDICTION
2.   The jurisdiction of this Court is invoked under 28 U.S.C.
     §1343(3), this being an action authorized by law to redress
     the deprivation of rights secured under color of state and
     city law, statute, ordinance, regulation, custom and usage
     of a right, privilege and immunity secured to the plaintiff
     by    the   Fourteenth     Amendment       to   the    Constitution    of   the
     United States.        Jurisdiction of this court exists pursuant
     to 42 USC §1983 and under the Fourth, Fifth, and Fourteenth
     Amendments to the United States Constitution.
3.   All    causes   of    action     not       relying     exclusively    on    the
     aforementioned federal causes of action as a basis of this
     Court’s jurisdiction are based on the Court’s supplemental
     jurisdiction pursuant to 28 U.S.C. §1367 to hear state law
     causes of action. The events, parties, transactions, and
     injuries that form the basis of plaintiff’s federal claims
     are   identical      to   the   events,      parties,     transactions,     and
     injuries that form the basis of plaintiff’s claims under
     applicable State and City laws.
4.   As the deprivation of rights complained of herein occurred
     within the Eastern District of New York, venue is proper in
     this district pursuant to 28 U.S.C. §§1391 (b) and (c).


      SATISFACTION OF THE PROCEDURAL PREREQUISITES FOR SUIT
5.   All conditions precedent to the filing of this action have
     been complied with.

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                                         PARTIES
6.    Plaintiff resides in Brooklyn, Kings County, New York and
      is a resident of the State of New York.
7.    The actions which form the underlying basis for this case
      all     took   place        in    the       County    of    Kings,     within      the
      jurisdiction of the Eastern District of New York.
8.    Defendants,         P.O.    Rodney      Greenidge,         Shield    #28511,       P.O.
      Craig      Wright,    Shield       #30425     and     Sergeant      Jessica    Gavars
      Shield #2298, are police officers for the City of New York,
      acting under color of state law.                      They are being sued in
      both their individual and official capacity.
9.    The Defendant, City of New York is a municipality in the
      State of New York and employs the Defendant Police Officer.
10.   Defendants         "John    Doe"    and      "Jane     Doe"     1‘through’10        are
      unknown police officers              for the City of New York, acting
      under color of state law.                     They are being sued in both
      their individual and official capacity.


           FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION
11.   On    or    about    June    24,    2014      sometime       after    8:30    in    the
      morning      hours,    the       plaintiff      was    driving       down    Berriman
      Street, coming from Pitkin Avenue, heading towards Glenmore
      Avenue, when he noticed the defendants sirens and flashing
      lights behind him.               The plaintiff pulled over on Berriman
      Street, close to the intersection of Berriman Street and
      Glenmore Avenue, thinking that the defendants were going to
      drive past.
12.   That instead of driving past, the defendants also pulled
      over and defendant Greenidge approached the driver’s side
      of    the    car    that    was    being      driven       by   plaintiff.         Upon
      reaching the plaintiff’s car, Defendant Greenidge reached

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      through the driver’s side window and grabbed plaintiff by
      the shirt with one hand, and then started punching the
      plaintiff with his other hand.
13.   The plaintiff started screaming for help which appeared to
      enrage    defendant          Greenidge      more,     as     defendant   Greenidge
      continued to throw more punches while attempting to drag
      and    pull     plaintiff       out    through        the    same   driver’s    side
      window.
14.   That at the time plaintiff was being punched and pulled out
      of the window, the plaintiff continued to scream for help
      and assistance, which caused passersby to stop and start
      shouting at the defendant officer, who then backed off and
      allowed plaintiff to unfasten his seat belt and then was
      dragged out of the car.                    By this time plaintiff’s upper
      shirt     had     been       totally    ripped        and    the    plaintiff    has
      sustained numerous blows and bruises to his face and head.
15.   That    during         the   entire    incident,        defendant      P.O.     Craig
      Wright stood by and did nothing to stop defendant Greenidge
      from unlawfully assaulting, intimidating and violating the
      plaintiff’s rights.             Later on defendant, Sergeant Jessica
      Gavars responded to the scene but stood by and did nothing
      to    stop    defendant        Greenidge       from    unlawfully      assaulting,
      intimidating and violating the plaintiff’s rights despite
      plaintiff’s complaints to her.
16.   That thereafter the plaintiff was handcuffed and taken to
      the    NYPD     75th    Precinct,      where    he     was    searched   and    then
      placed in a holding cell for several hours.                              Defendant
      Greenidge, intentionally placed the handcuffs on extremely
      tight to inflict more pain on the plaintiff.
17.   That plaintiff requested repeatedly for the handcuffs to be
      loosened due to its tightness, but the defendants ignored
      him or shouted at the plaintiff to shut up.                         The handcuffs

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      were only removed after plaintiff had been pedigreed and
      placed in a holding cell at the 75th precinct.
18.   That after being detained at the 75th Precinct for several
      hours,     plaintiff       was      then       transported         to      the    central
      bookings       division       of   the       criminal       court,      Kings     County,
      where he       was further detained, without food, drink and or
      access to a functional restroom facility.
19.   Plaintiff       remained      in    the       custody    of    the      defendants        in
      excess of 24 hours before he was brought before a Judge of
      the     criminal       court       and        then      released        on       his    own
      recognizance
20.   The plaintiff was then caused to return to criminal court
      on at least five separate occasions, before all the charges
      against the plaintiff were adjourned in contemplation of
      dismissal.
21.   The    decision      to    arrest        the       plaintiffs      was       objectively
      unreasonable under the circumstances.
22.   That    while    plaintiff         was       being   detained,       the      defendants
      individually           and/or         collectively            completed            arrest
      paperwork, in which they swore in part, that the plaintiff
      had committed a crime and/or offense.
23.   The factual claim by the defendant officers were materially
      false and the defendant officers knew it to be materially
      false    at    the     time    they      first       made    it,     and     every     time
      thereafter when they repeated it.
24.   That     the     defendant          officers          forwarded          these         false
      allegations to the Kings County District Attorney (“KCDA”)
      in order to justify the arrests and to persuade the KCDA to
      commence the plaintiff’s criminal prosecution.
25.   That as a direct result of these false allegations by the
      defendant,       the      plaintiff          was     criminally         charged        under
      Docket Number 2014KN047060 with PL 120.05(3), Assault in

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      the     Second    Degree,        AC    16-118(1)        Littering,       PL     195.05
      Obstructing        Governmental           Administration         in     the    Second
      Degree, PL 205.30 Resisting Arrest, PL 240.20(1, Disorderly
      Conduct, PL 240. 26(1) Harassment in the Second Degree.
26.   The plaintiff remained in the detention of the defendants
      in excess of 24 hours, before he was brought before a judge
      of the criminal court.                 That after plaintiff appeared in
      court for at least five times with his retained criminal
      attorney on separate dates before all the charges against
      the plaintiff were adjourned in contemplation of dismissal.
27.   At no time prior to or during the above events was there
      probable      cause    to        arrest     the     plaintiff,        nor     was   it
      reasonable       for   the       defendants       to   believe       that     probable
      cause existed.
28.   At no time did any defendant take any steps to intervene
      in, prevent, or otherwise limit the misconduct engaged in
      by the defendants against the plaintiff.
29.   The defendant officers intentionally and deliberately gave
      false     statements         and/or        failed      to     file    accurate      or
      corrective statements, or otherwise failed to report the
      conduct of the defendants who engaged in the misconduct
      described herein as required.
30.   As a direct and proximate result of defendants’ actions,
      plaintiff        suffered        and   continues        to     suffer       injuries,
      including        but      not      limited        to        emotional       distress,
      nightmares, and unwarranted severe anger bouts some or all
      of which may be permanent.
31.   The   false      arrest     of    plaintiff       and       plaintiff’s       wrongful
      imprisonment because of defendants’ knowledge of a lack of
      any legitimate cause or justification, were intentional,
      malicious, reckless and in bad faith.
32.   As a direct and proximate result of defendants’ actions,

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      plaintiff was deprived of rights, privileges and immunities
      under the Fourth and Fourteenth Amendments to the United
      States Constitution and the laws of the City of New York
      and the State of New York.
33.   Defendant   City      of    New   York,     as    a    matter    of    policy    and
      practice,     has     with    deliberate          indifference         failed     to
      properly sanction or discipline police officers including
      the   defendants       in    this        case,    for     violations      of     the
      constitutional rights of citizens, thereby causing police
      officers including defendants in this case, to engage in
      unlawful conduct.
34.   Defendant   City      of    New   York,     as    a    matter    of    policy    and
      practice,     has     with    deliberate          indifference         failed     to
      sanction    or      discipline       police       officers       including       the
      defendants in this case, who are aware of and subsequently
      conceal violations of the constitutional rights of citizens
      by other police officers thereby causing and encouraging
      police   officers      including          defendants      in    this    case,     to
      engage in unlawful conduct.
35.   That the defendant City of New York was responsible for
      ensuring    that      reasonable           and    appropriate          levels     of
      supervision were in place within and over the NYPD.
36.   Defendant   City      of    New   York      had       actual    or    constructive
      knowledge that there was inadequate supervision over and
      /or within the NYPD with respect to its members’ abuse of
      their authority, abuse of arrest powers and other blatant
      violations of the United States Constitution and rules and
      regulations      of   the    NYPD.         Despite      ample    notice    and/or
      knowledge   of      inadequate      supervision,          defendants      took    no
      steps to ensure that reasonable and appropriate levels of
      supervision were put in place to ensure that NYPD members
      engaged in police conduct in a lawful and proper manner,

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      inclusive     of    use     of    their        authority          as     law    enforcement
      officers      with        respect         to         the     general           public        and
      specifically the plaintiff herein.
37.   The    defendant          City      of         New     York         deliberately             and
      intentionally        chose       not     to     take       action        to    correct       the
      chronic,     systemic       and     institutional                misuse       and    abuse    of
      police      authority       by      its        NYPD        employees           and     thereby
      deliberately        and      intentionally                 adopted,           condoned       and
      otherwise created through deliberate inaction and negligent
      supervision        and     NYPD        policy,        practice           and        custom   of
      utilizing illegal and impermissible searches, arrests and
      detentions,        and     the    manufacturing              of     evidence,          in    the
      ordinary course of NYPD business in flagrant disregard of
      the state and federal constitutions, as well as the Patrol
      Guide, up to and beyond plaintiff’s arrest.
38.   That   all    of     the     acts       and     omissions           by    the        defendant
      officers     described        above           were    carried          out     pursuant       to
      overlapping        policies         and        practices           of     the        municipal
      defendant     in     their       capacities            as        police       officers       and
      officials pursuant to customs, policies, usages, practices,
      procedures and rules of the City and the NYPD, all under
      the supervision of ranking officers of the NYPD.
39.   The existence of the unconstitutional customs and policies
      may    be    inferred       from       repeated            occurrences          of     similar
      wrongful conduct, as documented in a long history of civil
      actions in state and federal courts.
40.   In an Order dated November 25, 2009, in Colon v. City of
      New York, 09 CV 0008 (EDNY), the court held that:
             Informal inquiry by the court and among the judges of
             this court, as well as knowledge of cases in other
             federal      and     state       courts,            has     revealed          anecdotal
             evidence      of     repeated,           widespread             falsification          by

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             arresting police officers of the New York City Police
             Department.         Despite numerous inquiries by commissions
             and        strong      reported      efforts          by        the      present
             administration—through selection of candidates for the
             police        force       stressing           academic           and          other
             qualifications,              serious          training            to          avoid
             constitutional         violations,        and     strong         disciplinary
             action within the department—there is some evidence of
             an     attitude      among     officers        that        is    sufficiently
             widespread to constitute a custom or policy by the
             city       approving     illegal       conduct       of     the        kind    now
             charged.
41.   That on more than half of the occasions where the Civilian
      Complaint         Review    Board     refers     substantiated               complaints
      against officers to the NYPD for disciplinary action, the
      NYPD either simply issues a verbal warning or drops the
      charges altogether.
42.   That the defendant New York City has not only tolerated,
      but actively fostered a lawless atmosphere within the NYPD
      and that the City of New York was deliberately indifferent
      to the risk and the inadequate                 level of supervision would
      lead to violation of individuals constitutional rights in
      general, and caused the violation of plaintiff’s rights in
      particular.
43.   The actions of all defendants, acting under color of State
      law,   deprived       plaintiff       of   his       rights,       privileges         and
      immunities under the laws and Constitution of the United
      States;      in    particular,      the    rights      to    be    secure       in    his
      person and property, to be free from the excessive use of
      force and from malicious prosecution, abuse of process, and
      the right to due process.
44.   By   these     actions,      defendants       have     deprived        plaintiff        of

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      rights    secured    by     the    Fourth,       Fifth,        and    Fourteenth
      Amendments to the United States Constitution, in violation
      of 42 U.S.C. Section 1983.
45.   This action has been commenced within one year and ninety
      days after the happening of the event upon which the claim
      is based.


AS A FIRST CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER FALSE
  ARREST AND FALSE IMPRISONMENT UNDER 42 U.S.C § 1983/NEW YORK
                                   STATE LAW
46.   By this reference, plaintiff incorporates each and every
      allegation and averment set forth in paragraphs 1 through
      45 of this complaint as though fully set forth herein.
47.   The   arrest,   detention       and     imprisonment      of    plaintiff      was
      without just or probable cause and without any warrant or
      legal    process    directing      or     authorizing      the       plaintiff’s
      arrest or subsequent detention.
48.   As a result of plaintiff’s false arrest and imprisonment,
      they have been caused to suffer humiliation, great mental
      and physical anguish, embarrassment and scorn among those
      who   know   them,    was    prevented       from   attending          to    their
      necessary    affairs,     and     have    been   caused    to        incur   legal
      expenses, and have been otherwise damaged in his character
      and reputation.
49.   Consequently, plaintiff has been damaged and hereby demands
      compensatory and punitive damages in an amount to be proven
      at trial against each of the defendants, individually and
      severally.
50.   The defendant officers were at all material times acting
      within the scope of their employment, and as such, the
      defendant City of New York is vicariously liable for the
      defendant officers acts as described above.

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51.   This action falls within one or more of the exceptions of
      the New York State Civil Practice Law and Rules §1602.


  AS A SECOND CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:
                    UNLAWFUL SEARCH UNDER 42 U.S.C § 1983
52.   By    this    reference,      the      plaintiff        incorporates    each    and
      every allegation and averment set forth in paragraphs 1
      through      51   of this complaint as though fully set forth
      herein.
53.   Following the plaintiff's arrest, the defendant officers
      searched and/or strip-searched and/or caused the plaintiff
      and/or his property to be searched and/or strip-searched,
      without any individualized reasonable suspicion that he was
      concealing weapons or contraband.
54.   As a result of the foregoing, the plaintiff was subjected
      to an illegal and improper search and/or strip-search.
55.   The       foregoing   unlawful         search    violated     the    plaintiff’s
      constitutional        right      to     privacy,    as     guaranteed      by    the
      Fourth,       Fifth   and    Fourteenth         Amendments     to    the   United
      States Constitution.
56.   As    a    consequence      of   the        defendant    officers'     individual
      and/or collective actions as set forth above, the plaintiff
      suffered a significant loss of liberty, humiliation, mental
      anguish,      depression,        and    his     constitutional       rights     were
      violated. Plaintiff hereby demands compensatory damages and
      punitive damages in an amount to be determined at trial,
      against the defendant officers, individually and severally.


   AS A THIRD CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:
                    EXCESSIVE FORCE UNDER 42 U.S.C § 1983
57.   By    this    reference,      the      plaintiff        incorporates    each    and
      every allegation and averment set forth in paragraphs 1

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      through 56        of this complaint as though fully set forth
      herein.
58.   The level of force employed by one or more of the defendant
      officers was objectively unreasonable and in violation of
      the plaintiff’s constitutional rights.
59.   As a result of the aforementioned conduct of the defendant
      officers, the plaintiff was subjected to excessive force,
      resulting in serious and severe physical injuries.
60.   As   a   consequence        of    the        defendant       officers'     individual
      and/or collective actions as set forth above, the plaintiff
      suffered serious personal injuries, and his constitutional
      rights were violated. Plaintiff hereby demands compensatory
      damages     and    punitive       damages,        in     the    amount     of    to   be
      determined        at   trial,         against      the       defendant      officers,
      individually and severally.


  AS A FOURTH CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:
               FAILURE TO INTERVENE UNDER 42 U.S.C § 1983
61.   By   this   reference,       the      plaintiffs         incorporates       each      and
      every allegation and averment set forth in paragraphs 1
      through     60    of this complaint as though fully set forth
      herein.
62.   Each defendant officer had an affirmative duty to intervene
      on the plaintiff’s behalf to prevent the violation to his
      constitutional rights, as more fully set forth above.
63.   Each     defendant      officer          failed        to      intervene        on    the
      plaintiff’s        behalf        to    prevent         the     violation        of    his
      constitutional rights, despite having had a realistic and
      reasonable opportunity to do so.
64.   As   a   consequence        of    the        defendant       officers’     individual
      and/or collective actions, the plaintiff suffered loss of
      liberty, humiliation, mental anguish, depression, loss of

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      wages    from   work,     serious       personal     injuries,      and   his
      constitutional      rights     were      violated.      Plaintiff     hereby
      demands compensatory damages and punitive damages, in an
      amount to be determined at trial, against the defendant
      officers, individually and severally.


   AS A FIFTH CAUSE OF ACTION: AGAINST EACH DEFENDANT OFFICER:
 DENIAL OF A CONSTITUTIONAL RIGHT TO A FAIR TRIAL UNDER 42 U.S.C
      § 1983 DUE TO THE FABRICATION/FALSIFICATION OF EVIDENCE
65.   By this reference, plaintiffs incorporates each and every
      allegation and averment set forth in paragraphs 1 through
      64 of this complaint as though fully set forth herein.
66.   Each defendant officer created false evidence against the
      plaintiffs.
67.   Each defendant officer forwarded false evidence and false
      information to the prosecutors in the Kings County District
      Attorney’s office.
68.   Each    defendant    officer      was     directly      involved     in   the
      initiation of criminal proceedings against the plaintiffs.
69.   Each defendant officer lacked probable cause to initiate
      criminal proceedings against the plaintiff.
70.   Each    defendant   officer    acted       with    malice   in    initiating
      criminal proceedings against the plaintiff.
71.   Each    defendant    officer      was     directly      involved     in   the
      continuation of criminal proceedings against the plaintiff.
72.   Each defendant officer lacked probable cause in continuing
      criminal proceedings against the plaintiff.
73.   Each    defendant   officer    acted       with    malice   in    continuing
      criminal proceedings against the plaintiff.
74.   Each    defendant       officer        misrepresented       and    falsified
      evidence throughout all phases of the criminal proceeding.
75.   Each    defendant       officer        misrepresented       and    falsified

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      evidence to the prosecutors in the Kings County District
      Attorney's office.
76.   Each defendant officer withheld exculpatory evidence from
      the   prosecutors        in    the    Kings          County      District           Attorney's
      office.
77.   Each defendant officer did not make a complete statement of
      facts    to     the    prosecutors             in    the     Kings       County       District
      Attorney's office.
78.   By    creating         false        evidence              against        the        plaintiff;
      forwarding           false     evidence              and      information             to        the
      prosecutors;          and     by     providing              false        and        misleading
      testimony        throughout          the        criminal           proceedings,             each
      defendant officer violated the plaintiff’s constitutional
      right to a fair trial under the Due Process Clause of the
      Fifth     and    Fourteenth          Amendments             to     the    United           States
      Constitution.
79.   As a consequence of the defendant officers' actions, the
      plaintiff       suffered      loss     of       liberty,         humiliation,          mental
      anguish,      depression,          loss        of    wages       from     work,       and       his
      constitutional          rights      were        violated.            Plaintiff         hereby
      demands    compensatory            damages          and     punitive      damages          in    an
      amount to be determined at trial, against each defendant
      officer, individually and severally.


  AS AN SIXTH CAUSE OF ACTION AGAINST THE DEFENDANT CITY OF NEW
            YORK: MUNICIPAL LIABILITY UNDER 42 U.S.C § 1983
80.   By this reference, plaintiff incorporates each and every
      allegation and averment set forth in paragraphs 1 through
      79 of this complaint as though fully set forth herein.
81.   The     defendant       officers          arrested           and     incarcerated               the
      plaintiff       in    the     absence          of     any     evidence         of    criminal
      wrongdoing,          notwithstanding                their     knowledge         that        said

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      arrest and incarceration would jeopardize the plaintiff's
      liberty, well-being, safety and constitutional rights.
82.   The acts complained of were carried out by the individual
      defendants    in   their       capacities     as    police      officers    and
      officials, with the entire actual and/or apparent authority
      attendant thereto.
83.   The defendant officers acted under color of law, in their
      official capacity, and their acts were performed pursuant
      to the customs, policies, usages, practices, procedures and
      rules of the City of New York and its police department.
84.   The    aforementioned     customs,      policies,        usages,   practices,
      procedures and rules of the City of New York and its police
      department include, but are not limited to the following
      unconstitutional practices:
      a.    Wrongfully   arresting      individuals       on    the   pretext    that
      they Are/were involved in illegal vice transactions;
      b.    manufacturing     evidence       against     individuals       allegedly
      involved in illegal vice transactions;
      c. unlawfully searching detainees and/or their property in
      the    absence     of    any     reasonable        suspicion       that    said
      individuals were concealing weapons or contraband;
      d.     arresting    innocent        persons        in     order      to    meet
      "productivity" goals (i.e. arrest quotas); and
      e. wrongfully and unreasonably brutalizing innocent members
      of the public, despite the lack of probable cause to do so.
85.   The aforesaid event was not an isolated incident. The City
      and its police commissioner has been aware for some time,
      from lawsuits, notices of claim, complaints filed with the
      Civilian     Complaint     Review      Board,      and    judicial     rulings
      suppressing evidence and finding officers incredible as a
      matter of law, that a disturbing number of their police
      officers     unlawfully     search      and      seize     citizens,      bring

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      charges       against         citizens      with       no    legal     basis,     perjure
      themselves in charging instruments and testimony, and fail
      to intervene in and report the obviously illegal actions of
      their    fellow       officers.            Nevertheless,        the     City      and   its
      police    commissioner              have    allowed         policies    and      practices
      that allow the aforementioned to persist.
86.   For example, the well documented failures of the Civilian
      Complaint      Review         Board    (“the       CCRB”),      a    City     agency,     to
      substantiate obviously meritorious citizen complaints have
      gone    uncorrected.           The     CCRB       regularly     finds       complainants
      lack credibility based on the fact that such complainants
      have also brought lawsuits to remedy the wrongs they have
      experienced,         a        practice          that    often        results      in    not
      substantiating the most serious charges brought to them. In
      addition,      the       CCRB       virtually       never     initiates        their    own
      findings of false statements against officers who have made
      false statements to the CCRB in their own defense, nor do
      they initiate findings that officers have failed to report
      their fellow officers’ misconduct; thus, officers have no
      real incentive to come forward, or to testify truthfully at
      the    CCRB.    The      CCRB       has     no    enforcement         mechanisms        once
      making    a    finding         against       an    officer;      it    can     only     make
      recommendations to the NYPD, once finding misconduct by an
      officer.
87.   The NYPD, once receiving a substantiated complaint by the
      CCRB,     fails          to        adequately          discipline       officers        for
      misconduct. The NYPD Department Advocate, which is endowed
      with the responsibility of following up on substantiated
      CCRB      charges,            is      understaffed            and      under-utilized.
      Furthermore, in the extraordinarily rare event, such as the
      matter at bar, that the CCRB substantiates a complaint and
      the    Department        Advocate          proves      the    case     in   an    internal

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      trial   against       an     officer,       the    police     commissioner        still
      maintains the power to reduce the discipline against such
      an officer, which has been done on many occasions.
88.   Further,    the       City    and    its     police     commissioner            have    no
      procedure        to     notify        individual            officers       or     their
      supervisors       of       unfavorable        judicial           review    of     their
      conduct.    Without        this      notification,          improper      search       and
      seizure practices and incredible testimony go uncorrected.
89.   Additionally, according to a report of the New York City
      Bar Association issued in 2000, the City and Kelly have
      isolated their law department from the discipline of police
      officers, so that civil suits against police officers for
      actions taken in their capacity as police officers have no
      impact on the officers’ careers, regardless of the outcome
      of   the   civil       actions.       Alan        Hevesi,    as    New    York        City
      Comptroller, in 1999 reported that there was a “a total
      disconnect"      between       the     settlements          of    even    substantial
      civil claims and police department action against officers.
90.   The existence of the aforesaid unconstitutional customs and
      policies may also be inferred from the admission by Deputy
      Commissioner Paul J. Browne, as reported by the media on
      January    20,    2006,       that    commanders       are       permitted       to    set
      "productivity goals".
91.   Furthermore,           the          existence          of         the       aforesaid
      unconstitutional customs and policies may also be inferred
      from the ruling (Docket entry 32) of the Court (Eastern
      District of New York), in the case(s) of Jose Colon v. City
      of New York, et al (09-cv-8) and Maximo Colon v. City of
      New York, et al (09-cv-9), wherein the Court stated, inter
      alia, that "Informal inquiry by the court and among the
      judges of this court, as well as knowledge of cases in
      other   federal        and    state     courts,       has     revealed      anecdotal

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      evidence       of    repeated,              widespread     falsification       by
      arresting officers of the New York City Police Department",
      and    that    "there     is    some    evidence     of    an   attitude     among
      officers that is sufficiently widespread to constitute a
      custom or policy by the city approving the illegal conduct
      of the kind now charged".
92.   The    aforementioned          customs,      policies,    usages,     practices,
      procedures and rules of the City of New York, constituted a
      deliberate      indifference           to    the   safety,      well-being     and
      constitutional rights of all defendants, including but not
      limited to the plaintiff; were the proximate cause of, and
      moving force behind, the constitutional violations suffered
      by the plaintiff as alleged herein, and deprived plaintiff
      of the following rights, privileges and immunities secured
      to him by the Constitution of the United States:


  (a)   The right of the plaintiff to be secure in his person and
        effects against unreasonable search and seizure under the
        Fourth and Fourteenth Amendments to the Constitution of
        the United States.
  (b)   The right of the plaintiff not to be deprived of life,
        liberty, or property without due process of law, and the
        right to the equal protection of the laws, secured to him
        by     the      Fifth        and     Fourteenth        Amendments     to    the
        Constitution of the United States.
  (c)   The right to be free from unreasonable detention and/or
        continued detention without probable cause in that the
        plaintiff was detained.
  (d)   The right to be free from the use of excessive force.
93.   As a result of the actions of the defendants, the plaintiff
      was    deprived     of    his    rights,       privileges,      and   immunities
      secured by the United States Constitution, in particular,

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      the     Fourth,      Fifth,      and     Fourteenth       Amendments,        in
      contravention of 42 USC §1983 and the laws of New York
      State, and New York City without just or legal cause when
      defendant City, by its employees and/or agents unlawfully
      arrested and imprisoned the plaintiff thereby depriving him
      of his liberty without due process of law.
94.   The   defendant      officers    were     the    actual       agents   of    the
      defendant City of New York and were following the customs,
      practices, ordinances and/or regulations of the City of New
      York when they violated the plaintiff’s constitutional and
      civil    rights,     and   the   City     of    New    York     is   therefore
      responsible for their acts, and liable to the plaintiff for
      the damages he suffered.
95.   The actual principal/agent relationship between defendant
      City and the defendant officers was created by the fact
      they were employees of defendant City, and the City had the
      right    to,   and   it    did   indeed     regulate      and    control     the
      activities and conduct of the defendant officers.
96.   The defendant officers actions were vicious, wicked, cold-
      hearted,       intentional,      malicious,       unwarranted          and   in
      violation of the law. The individual defendants had full
      knowledge that the charges made before the Court against
      the plaintiff were false and untrue.


              WHEREFORE,    plaintiff        respectfully     requests       judgment
      against the Defendants as follows:


  1. For    compensatory        damages    against     all    defendants      in   an
      amount to be proven at trial;
  2. For exemplary and punitive damages against all defendants
      in an amount to be proven at trial;
  3. For costs of suit herein, including plaintiff's reasonable

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     attorney's fees; and;
  4. For   such   other   and   further    relief   as   the   court   deems
     proper.


     Dated: August 7, 2015,
            Brooklyn, New York


                                   O’keke& Associates, PC.

                                   /S/ John Iwuh

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Civil Case Number: 15 CV 1907 (SJ) (VVP) Attorney: JOHN C. IWUH
[JI-2361]

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


JAY SMITH,

                                               Plaintiff(s),

      against



THE CITY OF NEW YORK,
P.O. RODNEY GREENIDGE, SHIELD #28511,
P.O. CRAIG WRIGHT, SHIELD #30425
SERGEANT JESSICA GAVARS SHIELD #2298

                  Defendant(s).



                       AMENDED SUMMONS & COMPLAINT
                           DEMAND TRIAL BY JURY


                         O’keke & Associates, PC
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                PHONE: (718) 855-9595 FAX: (718) 855-9494
                         EMAIL: polawuk@aol.com,

To:


Defendants/Attorney(s) For Defendants.


        Service of a copy of the within is hereby admitted

                             Dated:

                  Attorney(S) For:




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